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Unlted Sta:es !"frfrlci Cour'c
Southem giglt£rli)qt of Texas
UNITED sTATEs DIsTRICT CoURT - '
soUTHERN DISTRICT oF TEXAS APR 2 4 2018
` McALLEN DIVISIoN
band J.

UNITED STATES OF AMERICA

v. criminal No. M-18-318-s1
JUAN ALBERTO GoNZALEZ-vALDEZ
FABIAN JESUS MUNoZ

_RI§:ARDO lung

 

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SEALED SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:
Coilnt One
Introduction

At all times material to this lndictment:

Bradley. Qlerk

l. JUAN ALBERTO GONZALEZ-VALDEZ is a tow truck driver currently employed by

Hnos Rodriguez Guros Inc. and Was so employed With Hnos Rodriguez Guros Inc. in May 2017.

2. RICARDO RUIZ, during May 2017, Was a sworn peace officer licensed by the Texas

Commission on LaW Enforcement Standards on or about September 26, 2005.

3. RICARDO RUIZ Was commissioned as an officer With the 'McAllen Police Department

from on or about May 9, 2005 to on or about July 27, 2017.

4. RICARDO RUIZ Was' a federal task force officer With the Drug Enforcement

Administration from April l9, 2014 to April ll, 2017.

5. Hnos Rodriguez Guros, Inc., is a Wrecker service registered and incorporated in the State

of TeXas. The company has been registered and incorporated since June 2010. The Wrecker

service has three trucks utilized in its business and registered With the Texas Departrnent of

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Licensing and Regulation. The operation`of the business by individual drivers affects interstate

COIIIII].CI`CC.

Conspiracy
On or about May 5, 2017, in the Southern D_istrict of TeXas, and within the jurisdiction of '
the Court, defendants,
JUAN ALBERTO GoNZALEZ_vALDEZ
FABIAN JESUS MUNOZ

RICARDO RUIZ
_P;l,d .,___ ,_

did knowingly and intentionally combine, conspire and agree with each other, and with other
persons known and unknown to the Grand Jury, to knowingly and'unlawfully obstruct, delay and
affect interstate commerce by means of extortion, in that JUAN ALBERTO GONZALEZ~
VALDEZ, FABIAN JESUS MUNOZ, RICARDO RUIZ, and'\' h x 'T:" "lobtained, under
color of official right, a 2013 Cadillac ATS' from S.R., with such person’s consent.

l Manner and Means 0f the Conspiracy

lt was a part of the conspiracy that FABIAN JESUS MUNOZ, RICARDO RUIZ, and

" ' ._*“` "" along with JUAN ALBERTO GONZALEZ-VALDEZ, did agree to obtain a
2013 Cadiiiac ATs from s.R. '
Overt Acts
ln furtherance of the conspiracy described and to` effectthe objects of the conspiracy

thereof, the defendants performed or caused the performance of the following Overt Acts, among

others not described herein, in the Southern District of Texas.

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On or about October 2016, FABIAN JESUS MUNOZ (hereinafter “MUNOZ”) advised
a tow truck driver, JUAN ALBERTO GONZALEZ-VALDEZ`- (hereinaf`ter
“GONZALEZ”), that MUNOZ knew a law‘enforcement officer who worked at the
Drug Enforcement Adrninistration (hereinafter “DEA”) who could provide assistance

to GONZALEZ if GONZALEZ ever‘needed any assistance in doing his job.'

On or about April 27, 2017, i' ' g asked
GONZALEZ to acquire a vehicle, namely, a 2013 Cadillac AtTS which was possessed
by S.R., and that ' v 7 ii claimed belonged to him.

On or about the same date, GONZALEZ contacted MUNOZ and asked~l\/IUNOZ to _
obtain the assistance of MUNOZ’s law enforcement friend in' connection with the

acquisition of the vehicle for j v b f

On or about April 28, 2017, MUNOZ advised GONZALEZ that it would cost $1,100

for the services of 'MUN'OZ’s law enforcement friend. GONZA_LEZ subsequently

advised \ `that the charges for the tow services would be $1,800 dollars since
GONZALEZ needed assistance from MUNOZ’s law enforcement friend.
On or about May 1, 2017, approximately $1,800 was provided to GONZALEZ on

behalf of ` /_/.J to pay for the acquisition of S.R. ’s vehicle by GONZALEZ.

l On or about May 5, 2017, GONZALEZ met with MUNOZ and his law enforcement

friend, RICARDO RUIZ (hereinaf`ter “RUIZ”), regarding the acquisition of the 2013
Cadillac ATS, from S.R. On that date, MUNOZ and RUIZ, accompanied
GONZALEZ to S.R.’s residence located in San Juan, Texas, in order to obtain the

vehicle.

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7. On or about_May 5, 2017, in an effort to obtain the vehicle,` RUIZ approached S.R.’s
1 residence wearing clothing with the word “police” on it and displaying a holstered
firearm and a badge, and advised S.R. that RUIZ was a police officer and that
GONZALEZ needed to obtain the 2013 Cadillac ATS.
8. On or about May 5, 2017, RUIZ advised S.R., the owner of the 2013 Cadillac ATS,
z that RUIZ was with the police, specifically DEA, and that the vehicle was going to be
n towed because of a law enforcement investigation
9. On that date, S.R. voluntarily consented to the vehicle being removed from his
residence by GQNZALEZ due to RUIZ being a law enforcement official and RUIZ ,
advising him that the vehicle Was the subject of a law enforcement investigation
10. On or about May 5, 2017, GONZALEZ met with RUIZ and MUNOZ and paid RUIZ
~ and MUNOZ $1,100 for their assistance 1 l
1_1. on or about May 6, 2017, ;:"5 advised GoNzALEZ that GoNZALEz had to
return the money provided to GONZALEZ since the San Juan Police Department
recovered the vehicle from GONZALEZ and returned the vehicle to S.R. 1
ln violation of Title 18, United States Code, Section 1951(a).
Count Two
On or about May 5 , 2017, in the Southern District of Texas, and within the jurisdiction of
the Court, defendants, '
y JUAN ALBERTO GONZAliEZ-VALDEZ

' FABIAN JESUS MUNOZ
RICARDO RUIZ `

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did knowingly and unlawfully obstruct, delay and affect and attempt to obstruct, delay and affect
interstate and foreign commerce and the movement of articles and commodities in interstate and
foreign commerce, in that .TUAN ALBERTO GONZALEZ-VALDEZ, 13 ABIAN JESUS MUNOZ,

RchRDo RUIZ, and " ` "'"*~uniawfuiiy Obtained a 2013 Cadillac Ars in san Juan,
Texas, from S.R. with S.R. ’s consent induced by color of official right, in exchange fort RICAR_DO
RUIZ receiving approximately $l,000 in U.S. Currency.

ln violation of Title 18, United States Code, sections 1951(a) and 2.
Count Three
On or about May 5 , 2017, in the Southern District of Texas and within the jurisdiction: of
the Court, defendant,
RICARDO RUIZ_
did falsely assume and pretend to be an officer and employee of the United States acting under the
authority thereof, that is a Drug Enforcement Administration Agent, and in such assumed and
pretended character with intent to defraud did falsely obtain a thing of value, in that he obtained a
2013 cadillac Ars from s.,R. - l _}
In violation of Title 18, United States Code, Section 912. ll
_ Count Four
On or about July 26, 2017, in the _Southern District of Texas and within the jurisdiction of
the Court, defendant,
RICARDO RUIZ
did knowingly and willfully make a materially false, iictitious, and fraudulent statement and

representation in a matter within the jurisdiction of the executive branch of the _Government of the

United States, namely, the Office of Inspector General, by stating that he did not participate in the

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seizure or removal of a vehicle from a residence in 'San Juan, Texas, on May 5 , 2017, when in truth
and fact, the defendant knew that he did so participate in removing a vehicle from a residence in
San Juan, Texas, on May _5, 2017. l - d

In violation of Title 18., United States Code, Secti_on 1001(a)(2).

l Count Five '

On or about July 26, 2017, in the Southern District of Texas and within the jurisdiction of

the Court, defendant,
RICARDO RUIZ

did knowingly and willfully make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the Government of the
United States, namely, the Office of lnspector General, by stating that he did not state he was with
the Drug Enforcement Adrninistration while participating in the removal of a vehicle from a
residence in San .Tuan, Texas, on May 5 , 2017, when in truth and fact, the defendant did so state
that he was With the Drug Enforcement Administration while participating in the remioval of a
vehicle from a residence in San Juan, Texas, on May 5, 2017. j

In violation of Title 18, United States Code, Section 1001(a)(2).

A TRUE BILL

FoREPERSU 0 _

RYAN K. PATRICK`
UNITED sTArEs ATToRNEY

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AsslsTANT UNITED sTArEs ArroRN‘i§¥J

